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                         IN THE UNITED STATES DISTRICT COURT
                                 FOR MASSACHUSETTS


  IN THE MATTER OF THE SEARCH OF
                                                     Case No.:
  60 CALUMET STREET, REVERE, MA
                                                     23-mj-8107-PGL (SEALED)
  02151
                                                     23-mj-8108- PGL (SEALED)
  IN THE MATTER OF THE SEARCH OF
                                                     Filed Under Seal
  THE PERSON OF ASHLEY
  SHAKESPEARE (YOB 1982)



                  GOVERNMENT'S MOTION TO PARTIALLY UNSEAL

       The United States Attorney hereby respectfully requests that the Court partially unseal

the search warrants, affidavits in support of the warrants, this Motion, and any ruling on this

Motion in the above captioned matters.

       As grounds for this Motion, the government states that this matter is being referred to

state prosecutors and that the disclosure is in the interests of justice. However, to avoid

disclosure of information pertinent to an ongoing criminal investigation, the government is

requesting the Court partially unseal the matter; making publicly available only redacted copies

(attached) of the affidavits in support of these warrants.

                                                       Respectfully submitted,

                                                       JOSHUA S. LEVY
                                                       Acting United States Attorney

                                               By:     _/s/ Luke A. Goldworm_________
                                                       Luke A. Goldworm
Dated: June 8, 2023                                    Assistant United States Attorney

Ordered:
______________________________
Honorable Paul G. Levenson
United States Magistrate Judge
Dated:
